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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                         10/16/2020
 Debra Zanca, on behalf of herself and all
 others similarly situated,
                                                           1:20-cv-06965 (PGG) (SDA)
                               Plaintiff,
                                                           ORDER
                   -against-

 Frontier Cooperative,

                               Defendant.


STEWART D. AARON, United States Magistrate Judge:

       This case has been assigned to me for general pretrial management. (ECF No. 5.) The

parties (or, if no defendant has appeared in the case, only the plaintiff) shall appear for a

Telephone Conference on Thursday, October 22, 2020 at 10:00 a.m. to discuss the status of this

case. At the scheduled time, the parties shall each separately call (888) 278-0296 (or (214) 765-

0479) and enter access code 6489745.

SO ORDERED.

DATED:        New York, New York
              October 16, 2020

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                                                STEWART D. AARON
                                                United States Magistrate Judge
